CM/ECF V6.1.1 **LIVE**                                                                 Page 1 of 11



                                                                         APPEAL,Pro Se,SETTBMK

                              U.S. District Court
                          District of Hawaii (Hawaii)
               CIVIL DOCKET FOR CASE #: 1:18-cv-00502-JAO-KJM


Hsiao v. Pizzela                                           Date Filed: 12/26/2018
Assigned to: JUDGE JILL A. OTAKE                           Date Terminated: 09/23/2019
Referred to: MAGISTRATE JUDGE KENNETH J.                   Jury Demand: None
MANSFIELD                                                  Nature of Suit: 899 Other Statutes:
             MAGISTRATE JUDGE BARRY M. KURREN              Administrative Procedures Act/Review
(Settlement)                                               or Appeal of Agency Decision
Case in other court: Ninth Circuit Court of Appeals, 19-   Jurisdiction: U.S. Government
                    16870                                  Defendant
Cause: 05:702 Administrative Procedure Act
Plaintiff
Ya-Wen Hsiao                                represented by Ya-Wen Hsiao
                                                           1141 Hoolai Street
                                                           Apt. 201
                                                           Honolulu, HI 96814
                                                           (808) 728-2646
                                                           PRO SE


V.
Defendant
Alexander Acosta                            represented by Harry Yee
In his capacity as the United States                       Office of the United States Attorney
Secretary of Labor                                         Prince Kuhio Federal Building
TERMINATED: 07/19/2019                                     300 Ala Moana Blvd Ste 6100
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